                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      NO. 3:10-00004
                                                )      JUDGE CAMPBELL
KATHY MEDLOCK                                   )

                                         ORDER

      Pending before the Court is a Motion for Leave to File 20 Support Letters Under Seal

(Docket No. 343) and the Government’s Response (Docket No. 345).

      The Motion (Docket No. 343) is GRANTED.

      It is so ORDERED.

                                                ____________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




 Case 3:10-cr-00004     Document 346      Filed 01/14/14    Page 1 of 1 PageID #: 2756
